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                           No. 23-10362
__________________________________________________________________
        IN THE UNITED STATES COURT OF APPEALS
                 FOR THE FIFTH CIRCUIT


            ALLIANCE FOR HIPPOCRATIC MEDICINE, ET AL.,
                       Plaintiffs-Appellees,
                                 v.
            U.S. FOOD AND DRUG ADMINISTRATION, ET AL.,
                      Defendants-Appellants


          On Appeal from the United States District Court
                for the Northern District of Texas
                        No. 2:22-cv-00223-Z


            PLAINTIFFS-APPELLEES’ MOTION TO DISMISS



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                              INTRODUCTION
      The district court’s stay order is not a “final decision[ ]” appealable

as of right under 28 U.S.C. § 1291. So Appellants have appealed the order

as though it were a preliminary injunction under 28 U.S.C. § 1292(a)(1).

But the district court did not enter a preliminary injunction; rather, it

specifically denied Plaintiffs-Appellees’ request for a preliminary

injunction and instead entered its order under Section 705 of the

Administrative Procedures Act, 5 U.S.C. § 705, staying “the effective date

of FDA’s September 28, 2000 approval of mifepristone and all subsequent

challenged actions related to that approval.” FDA.Add.67.1 Stays of

agency action are not injunctions, as the Supreme Court has recognized.

E.g., Nken v. Holder, 556 U.S. 418, 429–30 (2009).

      Accordingly, this Court should dismiss Defendants’ appeal for lack

of jurisdiction. Even if the Court were to construe Appellants’ notices of

appeal and emergency motions for a stay as mandamus petitions—and

thus review the district court’s order to determine whether that court

“clearly and indisputably erred” in a way that is “irremediable on


1
 All citations to the “FDA.Add.” refer to the Addendum that FDA filed concurrently
in this Court with its April 10, 2023, Emergency Motion Under Circuit Rule 27.3 for
a Stay Pending Appeal. “Alliance.Add.” refers to Plaintiff’s Addendum, filed
concurrently with Plaintiffs’ opposition to FDA’s motion on April 11, 2023.
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ordinary appeal,” In re Occidental Petroleum Corp., 217 F.3d 293, 295

(5th Cir. 2000) (cleaned up)—this Court should not disturb or stay the

district court’s fastidious 67-page order for all the reasons explained in

Plaintiffs-Appellees’ opposition to the stay motions.


                            BACKGROUND
     The FDA’s chemical abortion regimen requires two drugs:

mifepristone (also known as “RU-486” and “Mifeprex”) and misoprostol.

FDA.Add.84. Mifepristone is a synthetic steroid that blocks nutrition to

the unborn baby, starving the baby to death. Id. Misoprostol induces

contractions to expel the dead baby from the mother’s womb.

FDA.Add.84–85.

     The FDA fast-tracked mifepristone’s approval under Subpart H, a

regulation that authorizes accelerated approval of new drugs that safely

and effectively treat “serious or life-threatening illnesses” and “provide

[a] meaningful therapeutic benefit to patients over existing treatments.”

21 C.F.R. § 314.500. To mitigate acknowledged, serious, and adverse

complications, the FDA’s 2000 Approval imposed a seven-week

gestational limit, limited prescribing authority to physicians, and

required three in-person office visits: (1) the Day 1 in-person dispensing


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and administration of mifepristone; (2) the Day 3 in-person dispensing

and administration of misoprostol; and (3) the Day 14 office visit to

confirm no fetal parts or tissue remain. FDA.Add.182–83, 186, 189.

Abortion providers were required to report all adverse events.

FDA.Add.186.

     In 2002, Plaintiffs AAPLOG and CMDA timely filed a citizen

petition with the FDA challenging the 2000 Approval (2002 Citizen

Petition). FDA.Add.281–372. Fourteen years later, the FDA rejected the

2002 Citizen Petition (2016 Petition Denial). FDA.Add.562–94. The same

day, the FDA approved “major changes” to the chemical abortion drug

regimen, eviscerating crucial safeguards (2016 Major Changes).

FDA.Add.768–75. The agency increased the maximum gestational age

from seven to ten weeks gestation; reduced the number of required in-

person office visits from three to one; allowed non-doctors to prescribe

and administer chemical abortions; and eliminated non-fatal adverse

event reporting. FDA.Add.778.

     In March 2019, Plaintiffs AAPLOG and ACPeds timely filed

another citizen petition challenging the 2016 Major Changes (2019

Citizen Petition). FDA.Add.192–21. The following month, the FDA


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approved a generic version of mifepristone with the same postmarketing

restrictions as the Danco drug, Mifeprex (2019 ANDA Approval).

Alliance.Add.456, 463. And in April 2021, the FDA stated it would

“exercise enforcement discretion” and allow “dispensing of mifepristone

through the mail … or through a mail-order pharmacy” during the

COVID pandemic (2021 Non-Enforcement Decision). Alliance.Add.249.

The FDA took this action even though the Comstock Act expressly

prohibits distribution of chemical abortion drugs by mail, express

company, or common carrier. Then, on December 16, 2021, the FDA

denied almost all the 2019 Citizen Petition (2021 Petition Response).

FDA.Add.876. The FDA rejected the 2019 Citizen Petition’s request to

keep the in-person dispensing requirements and announced it would

permanently allow abortion by mail. FDA.Add.842.

     The district court found that FDA’s approval and continual

deregulation of mifepristone placed politics above women’s health. That

court’s order paints an alarming picture of decades-long agency

lawlessness—all to the detriment of the women and girls the FDA is

charged to protect.




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      Analyzing Plaintiffs’ claims in detail, the district court concluded

that Plaintiffs were likely to prevail on their challenges to the FDA’s 2000

Approval, 2016 Petition Denial, 2016 Major Changes, 2019 ANDA

Approval, 2021 Petition Response, and 2021 Non-Enforcement Decision.

In fact, Defendants admit that pregnancy is not an illness and cannot

prove mifepristone provides a therapeutic benefit—the two independent

prerequisites for the FDA’s approval here. And the FDA’s mail-order

approval flagrantly violates the Comstock Act. The district court also

found that the government has engaged in decades’ long obfuscation and

delay, and that its failure to abide by federal law resulted in the death of

“many” women and caused a serious physical and emotional toll—a toll

minimized by the FDA’s “systematic” concealment. FDA.Add.29 n.22, 58–

59.

      Although Plaintiffs requested a preliminary injunction, the district

court expressly declined to grant it and instead issued “less drastic

relief.” FDA.Add.65. By its order, the district court “STAY[ED] the

effective date of” the challenged agency actions under 5 U.S.C. § 705. Id.

at 67.




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     The Court chose this form of relief specifically in light of the

“meaningful differences between an injunction, which is a ‘drastic and

extraordinary remedy,’ and vacatur, which is ‘a less drastic remedy.’” Id.

at 66 (quoting Texas v. Biden, No. 2:21-CV-067-Z, 2022 WL 17718634, at

*7 (N.D. Tex. Dec. 15, 2022)). The district court explained that “a vacatur

reinstates ‘the status quo absent the unlawful agency action and neither

compels nor restrains further agency decision-making.’” Id. (quoting

Texas v. Biden, 2022 WL 17718634, at *7). Just as a preliminary

injunction is an interim version of a permanent injunction, “[a] Section

705 stay can ‘be seen as an interim or lesser form of vacatur under Section

706.” Id. (quoting Texas v. Biden, 2022 WL 17718634, at *7).

     Finally, the district court stayed its own stay order for seven days

to give “the federal government time to seek emergency relief from the

United States Court of Appeals for the Fifth Circuit.” Id. at 67. Appel-

lants could have done exactly that by moving to certify the order for

interlocutory appeal or filing a mandamus petition in this Court. But

Appellants chose to do neither of those things. Instead, they immediately

filed notices of appeal without specifying the basis for this Court’s

jurisdiction. ECF 138; ECF 139. That’s because there isn’t any.


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                              ARGUMENT
     Concurrently with the filing of this Motion, Plaintiffs-Appellees are

filing their brief opposing Defendants’ emergency motions for a stay

pending appeal. That brief defends the district court’s comprehensive

order, which laid bare the FDA’s two decades of unlawful actions

promoting abortions over women’s health and contravening the agency’s

Congressionally circumscribed statutory authority.

     But Appellants cannot invoke this Court’s appellate jurisdiction to

review the stay order in any event. A stay granted under Section 705 of

the APA is interim relief postponing the effective date of challenged

agency action, not an injunction subject to interlocutory appeal under 28

U.S.C. § 1292(a)(1). Courts routinely distinguish stays from injunctions,

and a temporary stay under Section 705 is not a final decision appealable

under 28 U.S.C. § 1291. Accordingly, if Appellants wanted to seek this

Court’s review, they should have filed a petition for a writ of mandamus

or moved the district court to certify its order under 28 U.S.C. § 1292(b).

As they have done neither, this Court should dismiss their appeal.




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I.   The Stay in This Case Is Not an Injunction under Section
     1292(a)(1).
     This Court’s appellate jurisdiction is normally limited to reviewing

“final decisions,” 28 U.S.C. § 1291. But Congress enacted a limited

exception for review of preliminary injunctions. This Court can review

“[i]nterlocutory orders … granting, continuing, modifying, refusing or

dissolving injunctions.” Id. § 1292(a)(1). “[T]he statute creates an

exception from the long-established policy against piecemeal appeals,

which this Court is not authorized to enlarge or extend.” Gardner v.

Westinghouse Broad. Co., 437 U.S. 478, 480 (1978). “The exception is a

narrow one,” id., and it has gotten narrower as the Supreme Court has

overruled older precedent that previously allowed a broader category of

orders to be considered injunctions, e.g., Gulfstream Aerospace Corp. v.

Mayacamas Corp., 485 U.S. 271, 279–88 (1988).

     A stay of agency action is not an injunction. Nken, 556 U.S. at 429–

30 (2009). And if an order “ordinarily is not considered an injunction,”

then it “is not appealable under § 1292(a)(1).” Gulfstream Aerospace

Corp., 485 U.S. at 279. The history and nature of stays under Section 705

demonstrate that they are not injunctions.




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      Section 705 codified a practice in which courts had long engaged.

“It has always been held … that, as part of its traditional equipment for

the administration of justice, a federal court can stay the enforcement of

a judgment pending the outcome of an appeal.” Scripps-Howard Radio v.

FCC, 316 U.S. 4, 9–10 (1942) (cleaned up). The power to stay, “a power

as old as the judicial system of the nation,” is not limited to judicial

orders. Id. at 17. It extends to stays of “administrative order[s]” as well.

Id. at 10.

      Section 705 “was primarily intended to reflect existing law under

the Scripps-Howard doctrine.” Sampson v. Murray, 415 U.S. 61, 68 n.15

(1974). It did so by providing that “the reviewing court” may “postpone

the effective date of an agency action or … preserve status or rights

pending conclusion of the review proceedings.” 5 U.S.C. § 705. These

Scripps-Howard-type stays of administrative orders differ meaningfully

from injunctions, as the Supreme Court explained in Nken.

      Nken asked whether “a statutory provision that sharply restricts

the circumstances under which a court may issue an injunction blocking

the removal of an alien from this country … applies to the granting of a

stay by a court of appeals while it considers the legality of a removal


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order.” Nken, 556 U.S. at 422. Answering no, the Supreme Court rejected

the government’s “argu[ment] that a stay is simply a form of injunction.”

Id. at 426.

     In light of the differences between injunctions and stays, the

Supreme Court held that the provision limiting permissible injunctive

relief did not apply to stays. Id. at 433. The Court was not concerned by

the “functional overlap” shared by a stay and an injunction. Id. at 428.

That “[b]oth can have the practical effect of preventing some action before

the legality of that action has been conclusively determined” was

immaterial. Id. at 428–29.

     Just as a stay of an administrative order was not an injunction for

purposes of the statute in Nken, a stay of an administrative order is not

an injunction for purposes of Section 1292(a)(1). True, Section 1292(a)(1)

can cover not only an order granting or denying a motion for an injunction

but also an order that “has the practical effect of [granting or] refusing

an injunction.” Carson v. Am. Brands, Inc., 450 U.S. 79, 84 (1981); see

also United States v. Garner, 749 F.2d 281 (5th Cir. 1985), supplemented,

752 F.2d 116 (5th Cir. 1985) (per curiam). But the Carson rule does not

apply just because a defendant claims that a non-injunctive form of relief


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has the same “practical effect” that an injunction would. It requires that

supposedly non-injunctive orders “have the practical effect of granting or

denying injunctions.” Gulfstream Aerospace Corp., 485 U.S. at 287–88.

     In Garner, for example, an order did not satisfy the Carson rule

even though it “purport[ed] to require significant regulatory action by

the” government. 749 F.2d at 286. The district court’s order had merely

“establish[ed] a prerequisite for [the government’s] proceeding with [its]

foreclosure action.” Id. So the order’s “practical effect” was not to enter

an injunction. Id. at 286–87.

     Applying similar reasoning, the Ninth Circuit held that vacatur of

agency action is not an injunction immediately appealable under Section

1292(a)(1). In Alsea Valley Alliance v. Department of Commerce, the

National Marine Fisheries Service listed certain salmon populations as

“threatened” under the Endangered Species Act. 161 F. Supp. 2d 1154,

1156 (D. Or. 2001). Reviewing that listing decision, the district court

“declared [it] unlawful and set [it] aside.” Id. at 1163–64. When

environmental groups defending the listing attempted to appeal that

interlocutory ruling, the Ninth Circuit dismissed for lack of jurisdiction

because the district court’s order did not “have the practical effect of


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entering an injunction.” Alsea Valley All. v. Dep’t of Com., 358 F.3d 1181,

1186 (9th Cir. 2004). Although vacatur “prohibit[ed], as a practical

matter, the enforcement of the Service’s listing decision as is,” it did “not

compel the Service to [delist the salmon] or take any other actions.” Id.

“It would be far too tenuous … to maintain that this is the practical

equivalent of ‘enjoining’ the Service.” Id. A contrary rule “would classify

as ‘injunctive’ all declaratory relief that deems an agency rule unlawful”

and extend Section 1292(a)(1) far beyond its text. Id. at 1186–87.

      This Circuit has followed a similar rule when it comes to contracts.

An order “denying rescission” of an agreement is not the same as an order

“refus[ing] to grant an injunction” against enforcement of the agreement.

Pettinelli v. Danzig, 644 F.2d 1160, 1163 (5th Cir. 1981). An order staying

agency action is no more like an injunction than an order rescinding a

contract is.

      And that’s the situation here. The district court’s order “STAYS the

effective date of” various agency actions. FDA.Add.67. As the government

conceded in related litigation, “the order would—of its own force and

without any further action by FDA—stay the effectiveness of FDA’s prior

approvals      of   mifepristone   nationwide.”      Defendants’    Motion    for


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Clarification, Washington v. U.S. Food & Drug Admin., No. 1:23-cv-

03026-TOR, ECF No. 81 at 3 (E.D. Wash. Apr. 10, 2023).

      This is in keeping with the way stays of agency action are supposed

to operate. Section 705 provides that “the reviewing court” may “postpone

the effective date of an agency action.” 5 U.S.C. § 705. That bears little

resemblance to an injunction. See Jonathan F. Mitchell, The Writ-of-

Erasure Fallacy, 104 Va. L. Rev. 933, 1016 (2018) (explaining how

“[p]reliminary relief under section 705 differs from a preliminary

injunction”). As a result, this Court lacks jurisdiction over the district

court’s interlocutory order.


II.   A Temporary Stay Is Not a Final Decision Appealable
      under Section 1291.
      Appellants do not contend that the district court’s order is an

appealable final decision. See ECF 138 (entered on the district court

docket as a “notice of interlocutory appeal”); ECF 139 (same). But to avoid

any doubt, Appellees note that the order is not appealable under 28

U.S.C. § 1291. Consistent with Section 705, the district court granted

temporary relief “pending conclusion of the review proceedings,” not

permanent relief. 5 U.S.C. § 705; see FDA.Add.066–67.



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     This appeal does not fit within the “modest scope” of the collateral-

order doctrine. Will v. Hallock, 546 U.S. 345, 350 (2006). The stay order

does not “conclusively determine” anything, much less “an important

issue completely separate from the merits of the action” that would “be

effectively unreviewable on appeal from a final judgment.” Id. at 349. For

example, it assessed Appellees’ “likelihood of prevailing on the merits”

rather than reaching a final conclusion on the merits. FDA.Add.065.

     Moreover, there is no interpretation of Section 1291 that would

include stay orders under Section 705 but exclude preliminary

injunctions, which are separately covered by Section 1292(a)(1). And

preliminary injunctions cannot be final decisions under Section 1291 for

two reasons. First, that would render Section 1292(a)(1) superfluous. See

Corley v. United States, 556 U.S. 303, 314 (2009) (canon against

superfluity); In re Tronox Inc., 855 F.3d 84, 97 (2d Cir. 2017) (rejecting

an interpretation of Section 1291 that would leave “§ 1292 (a)(1) … at

least partially[ ] superfluous”). Second, it would contradict the history of

congressional enactments governing appellate review. Congress first

enacted the provision now in Section 1292(a)(1) because preliminary

injunctions were not considered final decisions appealable under Section


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1291. See Baltimore Contractors v. Bodinger, 348 U.S. 176, 180–81

(1955), overruled on other grounds by Gulfstream Aerospace Corp., 485

U.S. 271. That means Appellants lack an appeal as of right.


III. If Appellants Wanted Interlocutory Review from this
     Court, They Should Have Petitioned for Mandamus or
     Moved for Certification under Section 1292(b).
     Appellants do not have a right to an immediate appeal, but that did

not leave them without options for seeking this Court’s immediate

review. First, they could have petitioned for a writ of mandamus. Second,

Appellants could have moved the district court to certify its order for an

interlocutory appeal under 28 U.S.C. § 1292(b). But again, Appellants

chose not to do so, despite this Court’s precedent reminding litigants of

this option. See, e.g., Garner, 752 F.2d 116.

     Given the importance of the issues presented and the government’s

obvious desire for a speedy ruling—after “stonewall[ing] judicial” review

for nearly 20 years, FDA.Add.1—this Court could exercise its equitable

power and construe Appellants’ Notices of Appeal and Emergency

Motions for a Stay Pending Appeal as functional petitions for mandamus.

In that event, all of Plaintiffs-Appellees’ arguments supporting the

district court’s order hold true. But this Court would review the district


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court’s order to determine whether that court “clearly and indisputably

erred” in a way that is “irremediable on ordinary appeal.” In re Occidental

Petroleum Corp., 217 F.3d 293, 295 (5th Cir. 2000) (footnote and

emphasis omitted). For the reasons stated in Plaintiffs-Appellees’ brief

opposing Appellants’ Emergency Motions for Stay, the district court’s

order should be upheld even under a less deferential standard of review

and so must be upheld in the context of a mandamus petition, too.


                            CONCLUSION
     The Court should dismiss this appeal for lack of jurisdiction.

Alternatively, the Court should construe Appellants’ Notices of Appeal

and Emergency Motions for a Stay Pending Appeal as petitions for

mandamus and review the district court’s order under the appropriate

mandamus standard.

     Respectfully submitted,
                                   /s/ Erik C. Baptist
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                CERTIFICATE OF COMPLIANCE

     This motion complies with the word limit of Fed. R. App. P.

27(d)(2)(A) because it contains 3,026 words.

     This motion complies with the typeface requirements of Fed. R.

App. P. 32(a)(5) and the type-style requirements of Fed. R. App. P.

32(a)(6) because it has been prepared in Word 365 using a

proportionally spaced typeface, 14-point Century Schoolbook.



Dated: April 11, 2023
                              s/Erik C. Baptist
                              Erik C. Baptist

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                    CERTIFICATE OF SERVICE

     I hereby certify that on April 11, 2023, I electronically filed the

foregoing motion with the Clerk of the Court for the United States

Court of Appeals for the Fifth Circuit by using the appellate CM/ECF

system. I certify that all participants in the case are registered CM/ECF

users and that service will be accomplished by the CM/ECF system.



                              s/Erik C. Baptist
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